AFFIDAVIT IN SUPPORT OF LAINT

I, Patrick T. Casey, with the Federal Bureau of Investigation (FBI), being duly sworn, state
the following is true and correct to the best of my knowledge and belief:

1. I am a Special Agent Bomb Technician for the FBI and have been so employed
since October 2002. I am currently assigned to the Kansas City Division, Jefferson City Resident
Agency, where I am assigned to the Joint Terrorism Task Force (JTTF). In that capacity, I have
been involved in investigations of both international and domestic terrorism, and I have experience
in terrorism threat assessment and mitigation. During my career in the FBI, I have acquired
knowledge and information about bombing matters from training, informants, defendants, other
law enforcement officers, and other bombing investigations with which I have been involved. As a
Special Agent with the FBI, I am authorized to investigate violations of the laws of the United
States and to execute warrants issued under the authority of the United States.

2. The statements in this affidavit are based on my personal knowledge and
observations, my training and experience, my review of documents and records, and information
obtained from other agents and witnesses with direct knowledge of the facts of this case. Because
this affidavit is being submitted for the limited purpose of securing a criminal complaint, I have
not included each and every fact known to me concerning this investigation. I have set forth only
those facts that I believe necessary to establish probable cause for the pertinent offense. Where
statements are described in this affidavit, they are described in their sum and substance and not
necessarily verbatim.

BF I make this affidavit in support of a criminal complaint charging defendant
ROBERT LORENZO HESTER, JR., a/k/a “Mohammed Junaid Al Amreeki,” a/k/a “Junaid

Muhammad,” a/k/a “Rabbani Junaid Muhammad,” a/k/a “Rami Talib,” a/k/a “Ali Talib

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Muhammad,” with attempting to provide material support and resources to a designated foreign

terrorist organization, in violation of Title 18, United States Code, Section 2339B. I assert that

there is probable cause to believe HESTER violated Section 2339B based on the following facts:
OVERVIEW

4, HESTER posted a variety of material on multiple social media accounts. The FBI
was made aware of those postings, which indicated that HESTER had converted to Islam,
expressed animus toward the United States, and posted photos of weapons and the ISIS flag,
among other material, suggesting an adherence to radical Islamic ideology and a propensity for
violence. In order to assess whether HESTER posed a security threat, the FB] undertook a series of
investigative steps, beginning with an examination of whether and to what extent HESTER would
engage directly online with confidential sources working for the FBI and, later, with FBI
employees working in an undercover capacity.

5. HESTER did engage online with these undercover personnel and based on the
substance of HESTER’s statements in those conversations, the FBI was unable to discount
HESTER as a potential security threat. JHESTER said, for example, that the U.S. government
should be “overthrown,” and he suggested “hitting” the government “hard,” while noting that it

would not be “a one man job.” HESTER identified categories of potential targets for attack,

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including “oil production,” “military bases,” “federal places,” “government officials,” and “Wall
Street.” HESTER specified that “[a]ny government building in DC would get attention of
everyone.” He said he wanted a “global jihad.” Citing his brief enlistment in the U.S. Army,
HESTER also claimed proficiency with “assault weapons” and said that his favorite firearm was

the AK-47 rifle. HESTER spoke about the perceived ease in which one could gain access to a

military base.

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6. HESTER thereafter established that he would act on the statements that he made
online. An undercover FBI employee conversing online with HESTER offered HESTER an in-
person meeting with a like-minded “brother.” HESTER agreed to meet and subsequently did meet
on numerous occasions with a person who was described as, and HESTER believed was, a terrorist
operative — but who, in reality, was an employee of the FBI working in an undercover capacity. In
the meetings, the FBI undercover made clear to HESTER that the undercover was representing a
foreign terrorist organization (ISIS) and that the undercover was planning an attack that would
involve multiple operatives, deploy bombs and guns, and result in mass casualties. HESTER
indicated through his statements and actions that he was ready and willing to participate and assist
in the “plot.” For example, he obtained, at the undercover’s request, items that he was told would
be used as bomb components, including boxes of roofing nails. The undercover made clear to
HESTER that the nails’ purpose was to maximize the number of casualties. In addition, HESTER
did not hesitate when the undercover showed him a cache of three machine guns and two handguns
that would be used in the “attack,” and two pipes that would be used to construct the “bombs.” In
fact, in the days after seeing this display, which was arrayed in the rear compartment of the
undercover’s SUV, HESTER provided information on storage units that could be used to hold the
weapons and agreed to obtain additional supplies for the operation.

7. Throughout the investigation, HESTER expressed his interest in and exhibited his
willingness to commit violence in support of a foreign terrorist organization. The facts, as
described in more detail below, establish that HESTER attempted to provide material support to
ISIS by assisting in what he believed would be a murderous terrorist bombing and gunfire attack

committed in the name of the foreign terrorist organization.

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THE DESIGNATED FOREIGN TERRORIST ORGANIZATION

8. On or about October 15, 2004, the United States Secretary of State designated al-
Qaeda in Iraq (AQ]), then known as Jam ‘at al Tawid wa’ al-Jahid, as a Foreign Terrorist
Organization (FTO) under Section 219 of the Immigration and Nationality Act and as a
Specially Designated Global Terrorist entity under section 1(b) of Executive order 13224. On
or about May 15, 2014, the Secretary of State amended the designation of AQI as an FTO
under Section 219 of the Immigration and Nationality Act and as a Specially Designated
Global Terrorist entity under section 1(b) of Executive Order 13224 to add the alias Islamic State
of Iraq and the Levant (ISIL) as its primary name. The Secretary of State also added the following
aliases to the ISIL listing: The Islamic State of Iraq and al-Sham (ISIS), The Islamic State of Iraq
and Syria (ISIS), ad-Dawla al-Islamiyya fi al-Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-
Furquan Establishment for Media Production. On September 21, 2015, the Secretary added the
following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date, ISIS remains a
designated FTO.

HESTER’S BACKGROUND AND SOCIAL MEDIA POSTINGS

9. HESTER is a U.S. citizen who was born and currently resides in Missouri. In late
2012, he enlisted in the U.S. Army. HESTER completed basic training, which included training
with firearms and small-unit combat tactics. During Advanced Individual Training, HESTER was
cited for numerous violations of U.S. Army regulations. In mid-2013, HESTER received a general
discharge from service.

10. The FBI became aware of HESTER in or about August 2016 based on reports from
multiple confidential sources who had observed public posts initiated by HESTER, under the alias

“Rabbani Junaid Muhammad,” on a popular social media platform (the “social media platform”).

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The source reports reflected statements by HESTER concerning his conversion to Islam, his hatred
for the United States and his belief that supposed U.S. mistreatment of Muslims had to be “put to
an end.” The reports also noted that HESTER had posted numerous photographs of automatic
weapons and ammunition, including one photograph of a handgun and a knife next to the Quran.
The reports also indicated that, on August 14, 2016, HESTER selected as a profile picture for two of
his accounts on the social media platform an image of the Black Flag of Tawhid. I know from my
training and experience that ISIS has co-opted the Black Flag of Tawhid as its flag and that the flag
has regularly been featured in ISIS propaganda videos.

ll. In September 2016, the FBI undertook a review of HESTER’s publicly available
posts on the social media platform. That review revealed a profile description, “Zionist Jew Pig
Redneck Hunting Super Assassin,” and the following posts, among others:

a. A post on or about July 4, 2016, under the alias “Rami Talib,” stating: “Isis
created by U.S. And Israeli government. A true Muslim would never commit suicide
bombing during Ramadan at the Prophets (pbuh) masjid”;

b. Posts on or about August 16, 2016, under the alias “Junaid Muhammad,”
stating, “Burn in hell FBI,” and referring to a certain encrypted messaging application as
“no longer safe”;

c. A post on or about September 30, 2016, under the alias “Ali Talib
Muhammad,” stating: “Brothers in AmurdikKKKa we need to get something going here all
those rednecks have their little militias why shouldn’t we do the same”;

d. Two other posts on or about September 30, 2016, under the alias “Ali Talib
Muhammad,” referred to a group called “The Lion Guard”: “Look Out Here Comes The

Lion Guard” and “Join the Lion Guard.” In response to a comment on the social media

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platform, HESTER explained: “It started as a cartoon my children watch but i would like to

take in a new direction a group of lions to guard the ummah.” I know from my training and

experience that “ummah” is an Arabic word meaning the entire Muslim community. I also

know from my training and experience that some Islamic extremists, including ISIS

supporters, like to refer to themselves as lions, and use references and images of lions to

identify themselves as jihadists;

e€. A post on or about October 1, 2016, under the alias “Ali Talib Muhammad,”
stating: “I want to get a movement going here in Amurdikkka we need people to come
together though to make things happen”; and
f. Another post on or about October 1, 2016, under the alias “Ali Talib
Muhammad,” stating in the form of a caption to a photograph of a fully loaded magazine:
“Won’t be any clowning around my home.”
HESTER’S LOCAL ARREST

12. On or about October 3, 2016, HESTER was arrested by the Columbia, Missouri,
Police Department after an incident in the parking lot of a grocery store. HESTER was in the
store’s parking lot and appeared to be in an argument with his wife. Hester then threw a folded
pocket knife through a plate-glass window near the entrance of the store. When store employees
confronted HESTER, he assumed an aggressive stance, forcefully placed his hand into the diaper
bag he was carrying, in a manner that appeared to be reaching for a weapon, and yelled that he did
not want “any of this” and that he would “fucking do it.” Columbia police later recovered a 9-
millimeter handgun from the diaper bag. The handgun resembled the handgun that HESTER

posted pictures of on the social media platform.

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13. HESTER was charged in state court with a felony count of property damage, a
felony count of unlawful use of a weapon, and a misdemeanor count of assault. HESTER remained
in custody until on or about October 13, 2016, when he was released on bond. His bond conditions
included electronic monitoring.

14, On or about January 17, 2017, a warrant was issued for HESTER’s arrest for a
violation of his bond conditions, which I know from this investigation was a positive urinalysis
for marijuana. On or about January 24, 2017, HESTER pleaded guilty to one count of felony
property damage and one count of unlawful use of a weapon, and was released on his own
recognizance pending a sentencing hearing that was scheduled for March 2017. HESTER was no
longer on electronic monitoring after that date.

HESTER’S STATEMENTS TO UC-1

15. On or about October 2, 2016, the day before HESTER’s arrest, an FBI employee
using an undercover identity (UC-1) accepted a friend request on the social media platform from
HESTER, who was using the alias “Ali Talib Muhammad.” The FBI tasked UC-1 to learn more
about “The Lion Guard” by contacting HESTER via the private messaging function on the social
media platform. On October 15, 2016, two days after HESTER was released from pretrial
detention, UC-1 contacted HESTER by private message, stating that UC-1 liked HESTER’s idea
about “The Lion Guard” (referred to above) and asking whether HESTER had made any
progress. ESTER responded that he had not made progress, noting his recent arrest, but added
that he was “serious about the guard.” HESTER explained that “we just need some more brothers
and sisters on the same page as you and i it can be done with patience and dedication.”

16. On October 16, 2016, HESTER shared a post on the social media platform that

contained a news article about recent U.S. bombings in Yemen, which HESTER described in a

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post as “USA terrorism.” When UC-1 contacted HESTER via the private messaging function on
the social media platform, HESTER observed that “america is about to get rough.” UC-1
explained why it was “already rough” and asked HESTER whether it could get any rougher.
HESTER opined that the country would not “last much longer.” HESTER said that the U.S.
government should be overthrown, that “hitting govt hard” was a starting point, but that it was “not
a one man job.” UC-1 agreed and asked whether HESTER had a plan or needed help, noting that
UC-1 had recently met “with some brothers” who were talking about the same thing. HESTER
said that he was “looking into it now” and that he “would like talk with these people” to “come up
with some serious ideas.” In response to UC-1’s suggestion that they talk further, HESTER stated:
“We need to find a secure means of communication first. We will need brothers all over the place.”
HESTER said he would find out more about secure communications, including a particular
encrypted messaging application (the “encrypted messaging app”).

17. On October 17, 2016, HESTER and UC-1 engaged in another discussion, which
began on the social media platform and then moved to the encrypted messaging app. In the portion
of the discussion on the social media platform, UC-1 again asked HESTER about his plan, to
which HESTER responded: “We need to hit hard where it counts i was thinking oil production
and federal places.” HESTER continued: “Government officials also need to be taken care of but
we must hurt the economy.” HESTER added that “it can be done but we need some big help.”
HESTER reiterated his desire for “encrypted communication,” stated that they should use the
encrypted messaging app, and he set up an account while conversing with UC-1. When their
discussion resumed on the encrypted messaging app, HESTER noted that this was a “[m]uch safer”

means of communication than the social media platform. UC-1 raised the subject of firearms,

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suggesting that he might send HESTER a photograph of two AK-47 rifles that “the brothers” had
moved for someone. HESTER responded: “Aks are my favorite weapon.”

18. On October 18, 2016, HESTER and UC-1 communicated again over the encrypted
messaging app, a conversation that began with UC-1 sending to HESTER the previously
mentioned photograph of the AK-47 rifles. HESTER said he wanted one of the rifles and that he
would “love to shoot the kufr with [it].” Based on my training and experience, I am aware that
“kufr’” (or “kuffar”) is an Arabic term that means “non-believers” or “infidels,” and in this context, I
believe HESTER is referring generally to Americans. HESTER stated: “I want to actually make a
difference and change this entire world a global jihad.” HESTER reiterated that he was trying to
find like-minded people to help.

19, On October 19, 2016, HESTER and UC-1 communicated again via the encrypted
messaging app. HESTER began the conversation by stating that “[o]il production has to be shut
down to control the governments movements.” UC-I asked HESTER whether there was an oil
pipeline near him, to which HESTER said he would find out by researching. (For security
purposes, UC-1 also confirmed during this conversation that HESTER was not in possession of a
firearm, a gun having been confiscated from HESTER in connection with the October 3 local
arrest.) Toward the end of the discussion, UC-1 referred again to the “brothers” with whom UC-1
associated, explaining that they traveled to mosques around the country to meet with other brothers.
HESTER said he would like such a meeting.

20. HESTER and UC-1 maintained regular contact via the encrypted messaging app,
as well as by exchanging text messages on October 29, 2016 and October 30, 2016 on the subject
of potential targets for their attacks. On October 29, HESTER said that after checking on oil

production he found that there was an oil plant in Missouri. UC-1 said that the “brothers” liked

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HESTER’s idea of “messing with the economy.” HESTER’s response was that Texas was “the
biggest state for oil production” but that he was “looking into headquarters for oil production and
CEO names etc,” presumably those located in Missouri. On October 30, HESTER said that the oil
companies in Missouri were “small scale” and when UC-1 asked whether Missouri had
“anything else,”” HESTER said there were military bases, which he noted were easy to access as
“long as [you] have state ID.” HESTER also suggested “Washington DC” and “Wall Street,”
without naming any particular targets. HESTER added that “[a]ny government building in DC
would get attention of everyone.” Regarding targeting a military base, HESTER noted his prior
military service to reveal that he was “trained really well with assault weapons.” UC-1 reminded
HESTER about the “brothers” who travel around the country and said that one of them would be
in the area “in a couple of weeks” and would like to meet HESTER. HESTER did not respond
and the conversation ended.

21. On the next day, October 31, 2016, HESTER initiated a text message conversation
with UC-1. HESTER started by apologizing for abruptly ending the previous day’s discussion and
stating that he “would love to meet with the brother.” HESTER continued to talk about accessing
military bases, identifying a Missouri base by name. At the conclusion of the text message
conversation, HESTER sent UC-1 a link on the encrypted messaging app to a particular channel,
which I know from my training and experience is an invitation-only channel that is pro-ISIS and
provides updates on fighting in Iraq, Syria and elsewhere.

HESTER’S FIRST MEETING WITH UC-2

22. On November 3, 2016, UC-1 told HESTER via the encrypted messaging app that

“one of the brothers” UC-1 had previously mentioned would be in Missouri next week and able to

meet with HESTER. This “brother” was another FBI employee working in an undercover capacity

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and will be referred to herein as UC-2. HESTER suggested that UC-1 give UC-2 HESTER’s
telephone number. On November 7, 2016, UC-1 told HESTER via the encrypted messaging app
that UC-2 was able to meet with HESTER the next day and UC-1 and HESTER worked through
the logistics of how UC-2 and HESTER would meet.

23. On November 8, 2016, HESTER met with UC-2. The meeting, which lasted
about 30 minutes, took place in UC-2’s vehicle, while it was parked outside of HESTER’s
residence in Columbia, Missouri. The meeting was audio and video recorded, as were HESTER’s
subsequent meetings with UC-2. For this first meeting, HESTER brought his two young children,
which HESTER explained could not be avoided, given his child care responsibilities that day.
During the meeting, HESTER and UC-2 discussed a broad range of topics, including their
respective backgrounds, employment, race and religion. The discussion also included the
following:

a. UC-2 began the conversation by explaining that UC-2 was visiting
HESTER at the request of a “brother” but that UC-2 was unaware of the purpose of the
visit. UC-2 said he did not know HESTER and was not sure what HESTER was looking for.
UC-2 explained that UC-2 could not “be too careful” and HESTER said he understood.

b. HESTER said, “I don’t like America, like for my kids.” UC-2 explored the
basis for this view, which led to a discussion about Islam. HESTER explained that he was
still learning the religion and was often confused by what he heard from “brothers” online.
UC-2 asked if HESTER was “looking for an Islamic state.” HESTER said “yes.” HESTER
said he wanted to move, but his familial circumstances prevented it. HESTER was not

satisfied with the teachings at the local mosque, which he found to be “[vJery moderate

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and very watered down.” HESTER said he believed that “Sharia is the only law” that
should matter.

C. UC-2 said he would contact HESTER again, but through the other
“brother” (meaning UC-1), because even though HESTER seemed like a “good brother,” in
UC-2’s view, UC-2 still did not know HESTER very well. HESTER said he
understood, noting for emphasis that he “grew up in the hood, man.” Based on my
training and experience, I believe that HESTER added the reference to his upbringing to
convey his awareness that UC-2 was vetting him for participation in an illicit endeavor.

d. After goodbyes were exchanged, and right before HESTER left the vehicle,
he said: “I want to do something for all the kids, . . . this entire generation of Muslim
children,” adding that “they need to be able to respect it as Muslims, as people, as human
beings.”

24. Later on November 8, 2016, after his meeting with UC-2, HESTER reached out to
UC-1 on the encrypted messaging app and said: “TI like the brother he is very smart.” HESTER
thanked UC-1 for “vouching” for HESTER.

HESTER’S NEXT TWO MEETINGS WITH UC-2

25. HESTER and UC-1 maintained regular contact. On November 28, 2016, HESTER
inquired whether UC-1 had “heard from” UC-2. UC-1 said he would check, and shortly thereafter,
told HESTER that UC-2 was going to be in town over the next several days and would be able to
see HESTER. HESTER said that was “great news.”

26. On November 30, 2016, UC-2 met HESTER at HESTER’s place of business and
gave HESTER a ride home. Their conversation, the majority of which took place in UC-2’s

vehicle, lasted about 30 minutes and touched on a number of subjects, including more on

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HESTER’s background, the reasons he converted to Islam, and his desire to learn more about the
religion. The discussion also included the following:

a. UC-2 provided HESTER with $100, stating that in light of the things
HESTER said he was going through during their first meeting “this is one job that one
brother is supposed to do to another,” and “it’s my duty to make sure that the brother is
okay.”

b. Throughout the conversation, HESTER repeatedly denied smoking
marijuana. I know from my training and experience that smoking is forbidden under
Islamic law and custom; and as noted above, on or about January 17, 2017, a urinalysis
in connection with HESTER’s state case was positive for marijuana.

C. UC-2 explained to HESTER that UC-2’s job to was make sure “that you are
who you are,” meaning to assess whether UC-2 could vouch for HESTER with the
“brothers.” HESTER understood that their conversation would end if UC-2 could not
verify his sincerity. UC-2 told HESTER that they would meet again the next day and UC-
2 said that at that time UC-2 would “see if you are who you really are.” HESTER expressed
his appreciation for UC-2 taking time to meet with him, and agreed to meet the next day.

Pi. On December 1, 2016, HESTER reached out to UC-I via the encrypted messaging
app and said that he felt good after talking to UC-2 the previous day. Later that day, UC-2
picked up HESTER at work and drove HESTER home. During the meeting HESTER and UC-2
discussed the following:

a. UC-2 asked HESTER to explain, for the first time, what HESTER had
discussed with UC-1. HESTER said that instead of “three or four guys . . . shootin’ up

somewhere,” he wanted to do “things that could actually make a difference like doing

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something to the economy and stuff, things to hurt the economy.” HESTER said that
“instead of fighting hand to hand combat,” he “was thinking about oil lines, hitting oil
pipelines and oil markets.” HESTER also suggested hurting the economy by getting into
“computer systems and stuff.”

b. UC-2 repeatedly told HESTER that he could disassociate himself from the
operation at this time because “this is real.” But as they sat in the vehicle parked in front
of HESTER’s home, UC-2 cautioned that once HESTER committed himself, there would
be “no turning back.” HESTER confirmed that he understood, left the vehicle to take items
into the residence, but returned to continue the conversation. After thoroughly explaining
to HESTER that it was acceptable for him to decide to take care of his family rather than
be involved in the operation, HESTER said, “I’m in.” HESTER explained, “I wanna help
the brothers and sisters anyway I can,” which included “fighting skills,” helping “spread
the word,” and training others on “everything I was taught in the Army,” such as
“Telverything about weapons,” and “how they move.”

o During the conversation, HESTER stated that he has never killed another
person, but described two instances in which he fired gunshots at other persons. To date,
the investigation has not yielded any information to confirm the veracity of these
statements.

d. UC-2 asked HESTER if he was “willing to make that sacrifice.” HESTER
responded: “I can’t say yes like I’m ready to die because I don’t know where I sit with
Allah right now.” When asked whether he was willing to leave his family if he could
receive safe passage to travel to fight, HESTER stated, “Yes,” because the risk of death

was no different than when he joined the army.

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€. Before the conclusion of the meeting, UC-2 reiterated that HESTER could
be part of the operation or could disassociate himself from it. At the same time, for security
reasons, UC-2 was adamant that HESTER did not have a third option to engage in any sort
of violence on his own or participate in some other operation of which UC-2 was unaware.

UC-2 insisted that HESTER promise that he would engage in no such thing and UC-2

threatened to come back and find HESTER if he learned that HESTER reneged on the

promise. For emphasis, and for the purpose of mitigating the security threat posed by

HESTER, UC-2 displayed a knife and reminded HESTER that UC-2 knew where HESTER

and his family lived, among other forceful words.

28. On December 6, 2016, HESTER had a conversation with UC-1 via the encrypted
messaging app, in which HESTER complained about UC-2’s forceful commentary at the end of
the December | meeting. ESTER explained to UC-1 that UC-2 had threatened to harm HESTER
and his family if HESTER “talked about any plans” or “planned without letting him [UC-2] know.”
HESTER said he was not scared, but that it was wrong for UC-2 to threaten his family and that
HESTER did not “like being treated like a snitch.” HESTER asked UC-1 not to raise the matter
with UC-2 because HESTER did not “want to have to kill someone for running up on [HESTER’s]
family.”

HESTER’S LATE DECEMBER MEETINGS WITH UC-2

29. Notwithstanding his complaints about UC-2, HESTER met with UC-2 twice in late
December 2016. On December 20, 2016, UC-2 picked up HESTER at work and drove him home.
During the meeting, HESTER and UC-2 discussed the following:

a. UC-2 stated that UC-1 had confirmed that HESTER had stayed off of social

media as instructed, which was a reference to the type of proactive steps that UC-2 had

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home.

warmed against in their last meeting. UC-2 explained to HESTER that those instructions
were a test. HESTER said he did not know that, but that he was nervous about law
enforcement anyway.

b. HESTER stated that there were persons that contacted him on social media
that “could’ve been feds” because of the questions they asked. HESTER did not think that
either UC-1 or UC-2 were like that, but he had cut people out of his life because he was
not trying to “go to the penitentiary right now.”

G UC-2 reiterated that HESTER was not to do anything without letting UC-2
know to avoid messing up what was planned because it involved a “big network” and
would take time, which HESTER understood and was “comfortable with.”

d. At the end of the conversation, UC-2 provided HESTER with a “clean
phone” to use, stating that UC-2 would provide HESTER with minutes for the phone the
next time they met.

30. On December 21, 2016, UC-2 again picked up HESTER at work and drove him
During the meeting, HESTER and UC-2 discussed the following:

a. UC-2 began by stating that UC-2 was telling “the brothers” about
HESTER, when HESTER said that he could not wait to be off of electronic monitoring.
UC-2 stated that the told the “brothers” that HESTER would hopefully be off monitoring
soon, and told HESTER that UC-2 “just wanted to remind” him that “the Islamic State is
coming.”

b. UC-2 gave HESTER cards containing minutes to use on the phone UC-2
provided the day before. UC-2 stated that the minutes should last until he returned around

the end of January, when HESTER expected to be off of electronic monitoring.

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C. HESTER stated that his car broke down after someone pointed a gun at
HESTER and HESTER shot at the other car. HESTER believes that the other car must
have shot back at him and disabled his car because it has not worked since that incident.
To date, the investigation has not yielded any information to confirm the veracity of this
statement.

d. HESTER and UC-2 discussed HESTER’s desire to leave Missouri and
HESTER’s ability to leave his mark on Missouri when he does. UC-2 told HESTER, “Just
know you got the brothers from the Islamic State supporting you now,” to which HESTER
expressed his appreciation. UC-2 stated that if HESTER was ready to leave Missouri,
“we'll leave with something to remember.” HESTER said, “Okay, that sounds like a plan.”

HESTER’S NEXT TWO MEETINGS WITH UC-2

31. As noted above in connection with HESTER’s state criminal case, he was taken off

electronic monitoring on January 24, 2017. In an exchange of text messages on January 28, 2017,

HESTER told UC-1 that he and his family were thinking of moving, with St. Louis and Houston

being destinations they considered. The next day, January 29, 2016, UC-1 told HESTER via text

message that UC-2 would be in Missouri next week and wanted to meet with HESTER. HESTER

said he was looking forward to the meeting.

32. On January 31, 2017, UC-2 met with HESTER in UC-2’s vehicle while it was

parked outside of HESTER’s residence. Their discussion, which was brief, included the

following statements:

a. HESTER told UC-2 that he was off of electronic monitoring, but had gone
back to jail because he “got pulled over with somebody and they had weed in the car with

‘em.” HESTER later described how the car had been pulled over because of tinted

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windows. Based on the investigation to date, I believe that both of these statements were
false.

b. HESTER stated that he broke the phone UC-2 had given him, because he
was scared and did not want anyone to get it. UC-2 commended HESTER, saying that he
“did good” and that it showed that HESTER was thinking because “it’s not just about you.”
UC-2 told HESTER that the “brothers” were moving ahead with plans and that HESTER’s
discarding of the phone was appreciated as “‘a small gesture [that] goes a long way in the
next step.”

c. UC-2 provided HESTER a list of items for HESTER to purchase and stated
that he needed the list back from HESTER the next day. The list, which was written on a
paper napkin, included 9-volt batteries, duct tape, copper wire, and roofing nails. HESTER
stated that he would purchase the items but that he did not have the money to do it that
night. After UC-2 confirmed that HESTER could not get the money, UC-2 provided
HESTER with $20 to purchase the items, which HESTER agreed to repay when he could.
UC-2 implied that the items would be used to make bombs, stating that those materials are
needed “to make... things . . . to bring some kind of destruction.” HESTER responded
by stating: “I’m just ready to help. I’m ready to help any way I can.”

d. When UC-2 stated what they are planning is “going to bring them to their
knees. .. . and then they gonna know to fear Allah,” HESTER expressed his anticipation
by stating: “I can’t wait. I can’t wait.”

e. UC-2 and HESTER agreed that when UC-2 arrived at HESTER’s home the
next day, HESTER would open his garage door so UC-2 could back into the garage,

because UC-2 would have something to show HESTER.

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33, Later that day, HESTER told UC-1 via text message that he was “going shopping
in the morning.” The next morning, February 1, 2017, HESTER purchased 9-volt batteries, duct
tape, and two boxes of roofing nails. HZESTER purchased the items from a retail store whose
business was international in scope. A surveillance video obtained from the store depicted
HESTER making the purchase. Thereafter, HESTER told UC-1 via text message that he had
purchased all but one of the items, noting that he could not find “wires for the fence.”

34, Later on February 1, 2017, HESTER met UC-2 at his residence. Prior to the
meeting, the FBI loaded various items into the rear compartment of the SUV UC-2 would be
driving to the meeting. The items included three AK-47 style rifles and two .45 caliber handguns,
all of which had been rendered incapable of discharge. The items also included a backpack
containing two pieces of pipe (one metal, one plastic) with end caps attached in the manner of pipe
bombs, along with some cord-like safety fuse. When UC-2 arrived at HESTER’s home, UC-2
backed the vehicle toward HESTER’s garage and HESTER opened the lift gate, as previously
agreed. While standing at the back of the vehicle, UC-2 and HESTER discussed the following:

a. HESTER provided UC-2 with a bag containing the 9-volt batteries, duct
tape, and roofing nails he purchased earlier that day. UC-2 asked for the list provided to
HESTER the day before and the receipt for the items. HESTER did not have the receipt,
but provided UC-2 the list, explaining that he spent $22 but could not find the copper wire.
UC-2 made it appear to HESTER as if UC-2 had burned the list; in response, HESTER
stated “J was gonna do that.” (The actual list was preserved as evidence.)

b. UC-2 told HESTER that before showing HESTER the surprise UC-2
brought for him, HESTER needed to understand what was about to happen. UC-2 told

HESTER that buying the items and returning the list was another test and UC-2 liked how

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HESTER handled things so far. UC-2 told HESTER that they were planning something “ten
times more” than the Boston Marathon bombing, and HESTER expressed his approval.

C. UC-2 told HESTER that there were various “kufr” holidays coming up and
they were planning on “killing a lot of people,” and HESTER expressed his approval.

d. UC-2 told HESTER that the Boston Marathon bombers were caught
because they were working alone, but that UC-2 was working with ISIS and that what UC-2
was working on was coordinated. HESTER acknowledged that he understood this and
UC-2. stated “[s]o all ISIL warriors that we have here with us . . . welcome, brother.”
HESTER expressed his approval.

e. UC-2 told HESTER that if HESTER was “not down” or not “willin’ to
handle this,” then HESTER could “walk away.” HESTER said, “I’m down.” UC-2 said
they were going to “wage all kinda war,” and HESTER again expressed his approval.

f. At this point in the conversation, UC-2 pulled back blankets that were
covering the items in the back of the SUV, exposing the three AK-47 style rifles and two
45 caliber handguns. HESTER recognized what the firearms were and stated, “|t]hat’s my
kind of expertise there.” HESTER explained that while he had shot an “AK,” he did not
know how to break one down, adding that he could do both with an M-16 because of his
military service. HESTER also stated he used to own a .45.

g. UC-2 stated that while they had plenty of firearms, they needed more
ammunition, and HESTER stated that he could not purchase ammunition because of his
present state charges but that he had a friend that could get ammunition for him. HESTER
stated that he would have money to purchase ammunition after he received his tax refund

and after he was paid in a couple of weeks.

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h. UC-2 opened the backpack, which contained the pipes and fuse, stating that
“these are bombs right here.” UC-2 explained that the duct tape HESTER provided would
be used to tape the bombs together, which HESTER acknowledged. UC-2 stated that they
had more backpacks that they were going to put in different locations, being careful not to
be caught on cameras. HESTER acknowledged that he understood.

i. HESTER stated that they had to be smarter than the Boston Marathon
bombers, and stated that he remembered all of his military training, including how to clear a
room or building, how to use weapons, and military movements.

il. HESTER again confirmed that he was “down” and that he understood that
they had to “lay low” and act in a manner to avoid detection.

k. UC-2 stated that the nails HESTER provided would “cut peoples head’s
off,” and HESTER responded, “Oh yes. Oh yeah. I know,” indicating that HESTER
understood that the nails were to be used as shrapnel for bombs. UC-2 stated: “You cuttin’
peoples’ heads off. We... gonna leave a force of reckonin’ on them so so brutal that they
gonna, they ain’t gonna have time to recuperate or be lookin’ like know what happening,
like oh, man, we gotta back up on all you brothers,” to which HESTER expressed his
approval.

lL. UC-2 stated that they were going to “strike fear in all these infidel hearts,”
and HESTER responded that he agreed and that he was ready.

HESTER’S FURTHER STATEMENTS TO UC-1
35, On or about February 2, 2017, HESTER sent UC-1 the following text messages: “T

should have some more stuff for the brother in a couple of weeks when I get paid”; “I will help

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anyway I can .. . if not us who will”; and “When you talk to the brother again let him know I’ Il
have some more gifts in a couple of weeks.”

36. On February 4, 2017, HESTER and UC-1 had a conversation via the encrypted
messaging app, at UC-1’s request. UC-1 asked HESTER if he would find the addresses for storage
units in the Columbia area, directing HESTER’s attention to “what the brother showed [him.]”
HESTER agreed to find the addresses and, with respect to what he was shown, HESTER said: “I
was like a kid in candy store when I seen lol.”

37. On February 6, 2017, HESTER reported back to UC-1 via the encrypted messaging
app. HESTER provided UC-1 with names and addresses for five local storage facilities. When
UC-I said that the “brothers” were concerned about video surveillance at the facilities, HESTER
reported that he was “seeing a lot of these [facilities] have cameras” and that he was to determine
precise locations of the cameras.

38. On February 7, 2017, HESTER and UC-1 again communicated over the encrypted
messaging app. After an exchange of greetings, HESTER asked how the “party plans” were
progressing and offered to help in any way. Shortly thereafter, UC-1 opined: “Once this is over
and the kafir are counting their dead They will know that the Islamic State Caliphate has spread
into the United’ States.” HESTER said he was excited, that he was “happy to be part” of it, and
that it was “time they answer for their atrocities.” HESTER predicted that it was “going to be a
good day for Muslims worldwide.”

39, On February 11, 2017, HESTER contacted UC-1 via the encrypted messaging app
and asked how the “party plan” was coming along. In discussing the planned operation, HESTER

said that he would try to get more “supplies.”

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40. On February 16, 2017, HESTER and UC-1 had another conversation over the
encrypted messaging app. UC-1 told HESTER that the “party” would take place on Presidents’
Day (that is, February 20, 2017) and that the targets of the operation would include buses, trains
and a train station in Kansas City, Missouri. HESTER expressed approval and asked UC-1
whether particular “supplies” were needed. UC-1 said they needed shrapnel, mentioning nails and
screws as examples. HESTER said he would “pick some things up” and added that it felt “good to
help strike back at the true terrorist.”

HESTER’S FEBRUARY 17 MEETING WITH UC-2

41. On February 17, 2017, UC-1 advised HESTER that UC-2 was in town and ready to
meet and HESTER agreed to meet UC-2. UC-2 met HESTER in front of HESTER’s residence and
HESTER joined UC-2 in the front seat of UC-2’s vehicle. HESTER had with him a plastic bag,
which was later determined to contain two boxes of roofing nails, among other items. UC-2 and
HESTER drove to a nearby storage facility, which was one of the facilities HESTER previously
identified in his communications with UC-1. Upon arrival at the storage facility, HESTER and
UC-2 briefly conducted surveillance and discussed the location of the facility’s security cameras.

Shortly thereafter, HESTER was arrested.

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CONCLUSION
42. Based on the above facts, I believe that probable cause exists for the issuance of a
complaint charging HESTER with attempting to provide material support and resources to a

designated foreign terrorist organization, in violation of Title 18, United States Code,

Section 2339B.

KT les —

Patrick T. Casey, Special Kgent
Federal Bureau of Investigation

Subscribed and sworn before me this 19th day of February, 2017.

i.
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Hon. . Larsen

United States Magistrate Judge
Western District of Missouri

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